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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )              8:11CR251
                      Plaintiff,              )
                                              )
       vs.                                    )                ORDER
                                              )
DONALD WILLIAM MILLER, JR.,                   )
                                              )
                      Defendant.              )

       At the initial appearance of the defendant on the charges contained in the indictment on
file, the United States moved to detain the defendant without bail pending trial on the basis that
he was a flight risk and a danger to the community. At the time of his initial appearance before
the court, the defendant was in the custody of Nebraska state authorities on state charges.
Accordingly,
       IT IS ORDERED:
       The government's motion for detention of Donald William Miller, Jr. pursuant to the Bail
Reform Act is held in abeyance pending the defendant's coming into federal custody.
       IT IS FURTHER ORDERED:
       The defendant, Donald William Miller, Jr., having received notice of his return to the
custody of Nebraska state authorities pending the disposition of this matter and having waived
an opportunity for hearing in this matter pursuant to the Interstate Agreement on Detainers, 18
U.S.C. app § 9(2), the U.S. Marshal is authorized to return the defendant, Donald William Miller,
Jr., to the custody of Nebraska state authorities pending the final disposition of this matter and
the U.S. Marshal for the District of Nebraska is directed to place a detainer with the correctional
officer having custody of the defendant.
       DATED this 19th day of August, 2011.
                                                       BY THE COURT:
                                                       s/ Thomas D. Thalken
                                                       United States Magistrate Judge
